Case 1:17-cv-01888-SEB-MPB Document 64-2 Filed 05/21/18. Page. 1 of 3 PagelD #: 462

EXHIBIT B

 
Case 1:17-cv-01888-SEB-MPB Document 64-2 Filed 05/21/18 Page 2 of 3 PagelD #: 463

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

Deborah Walton Case No. 1:17-cv-1888-JMS-MPB

Plaintiff
v.

First Merchants Bank

Defendant.

)
)
)
)
)
)
)
)
)
)
)
)
)

)
AFFIDAVIT OF DEBORAH WALTON

Deborah Walton, being duly sown, deposes and states:

| am an adult with a residence in Hamilton County in the state of Indiana.

| have called and sent e-mails to Mr. Alex Rodgers on several occasions ask for
a copy of the Signed Consent Form he alleges his client First Merchants Bank has on
file, which allowed them to contact me via Robo / Auto Dialers, however; as of to date,
he has refused to provide the Consent forms to me. | also have over 427 Robo / Auto
Dialer calis on my cell phone statements and over 200 calls on my home phone
statements. | have also requested my March 2016 through August 2017 Ameriana and

First Merchants bank statements, and | have only received a few of the bank statements

I've requested.

 
Case 1:17-cv-01888-SEB-MPB Document 64-2 Filed 05/21/18 Page 3 of 3 PagelD #: 464

| AFFIRM UNDER PENALTIES OF PERJURY THAT THE FOREGOING REPRESENTATIONS
ARE TRUE AND ACCURATE TO THE BEST OF MY KNOWLEDGE AND BELIEF.

May 21, 2018

__-—_ Deborah Walton

cL

 

 
